Case 7:18-cv-00603-VB-AEK Document149 Filed 12/20/24 Pagel1of4

USDC SDNY

DOCUMENT
UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC#:
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NADINE MCKENZIE, individually; as parent, DATE FILED: Ljanjog
legal guardian and natural guardian of Plaintiff’s :
decedent SHAMOYA MCKENZIE; and as :
Administratrix of the Estate of Plaintiffs decedent : . [2/2 Joy
SHAMOYA MCKENZIE Copies(Matlod/Faxed

Plaintiff, Chambe Sof Vincent L. Briccetti

Vv.

THE CITY OF MOUNT VERNON; DAVID
HARDY; MARQUIS COLLIER; JERMAINE
HUGHLEY; SINCERE SAVOY; ANTHONY
MCEACHIN, individually and in his official
capacity; MICHAEL MARCUCILLI, individually
and in his official capacity; DERRICK A.
WILLIAMS, individually and in his official
capacity; and “JOHN DOES” and “JANE DOES,”
names being fictitious intended to be first
responders, police, police
employees/personnel/officers of the City of Mount
Vernon, emergency medical service staff,
emergency medical service personnel,
administration, emergency medical service
administration personnel of the City of Mount
Vernon, The City of Mount Vernon Police
Department, and Empress Medical Services,
Defendants.

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ORDER ADOPTING REPORT
AND RECOMMENDATION

18 CV 603 (VB)

Briccetti, J.:

Before the Court is Magistrate Judge Andrew E. Krause’s Report and Recommendation
(“R&R”), dated November 12, 2024 (Doc. #147), pursuant to an order of reference for an inquest
after default and damages hearing (Doc. #135).

The parties’ familiarity with the factual and procedural background of this case is
presumed.

On January 12, 2023, the Court entered default judgment as to liability only against

defendants David Hardy, Marquis Collier, Jermaine Hughley, and Sincere Savoy (together, the
1
Case 7:18-cv-00603-VB-AEK Document149_ Filed 12/20/24 Page2of4

“Defaulting Defendants”) (Doc. #134), and referred the matter to Judge Krause for purpose of an
inquest and damages hearing (Doc. #135). On June 9, 2024, Judge Krause conducted an inquest
hearing, at which plaintiff appeared, testified, and presented evidence. (Doc. #146-1).

Judge Krause recommended plaintiff be awarded a total of $9,625,000, plus post-
judgment interest, on her claim for Shamoya McKenzie’s conscious pain and suffering. This
recommended award consists of: (i) $1,750,000 in compensatory damages against the
Defaulting Defendants, jointly and severally; and (ii) $7,875,000 in punitive damages, allocated
among the individual Defaulting Defendants as follows—$2,625,000 as against Hardy,
$1,750,000 as against Collier, $1,750,000 as against Hughley, and $1,750,000 as against Savoy.
(Doc. #147). Judge Krause also declined to recommend an award of damages for plaintiff's
claim for wrongful death or her claim for assault and battery. (Id.).

For the reasons set forth below, the Court agrees. Accordingly, the R&R is adopted as
the opinion of the Court, and plaintiff is awarded damages in the amount of $9,625,000, plus 2
post-judgment interest.

I, Standard of Review

A district court reviewing a magistrate judge’s report and recommendation “may accept,
reject, or modify, in whole or in part, the findings or recommendations made by the magistrate
judge.” 28 U.S.C. § 636(b)(1). Parties may raise objections to the magistrate judge’s report and
recommendation, but they must be “specific[,] written,” and submitted “[W]ithin fourteen days
after being served with a copy of the recommended disposition,” Fed. R. Civ. P. 72(b)(2); see
also 28 U.S.C. § 636(b)(1), or within seventeen days if the parties are served by mail, see Fed. R.
Civ. P. 6(d). In the absence of objections, a magistrate judge’s report and recommendation is

reviewed for clear error. Fed. R. Civ. P, 72(b).
Case 7:18-cv-00603-VB-AEK Document149_ Filed 12/20/24 Page3of4

The district court may adopt those portions of the recommended ruling to which no
timely objections have been made, provided no clear error is apparent from the face of the

record. Fed. R. Civ. P. 72(b); see also Wilds v. United Parcel Serv., Inc., 262 F. Supp. 2d 163,

169 (S.D.N.Y. 2003).
Il. Application

On November 12, 2024, Judge Krause issued the R&R. (Doc. #147). On November 20,
2024, copies of the R&R were mailed to the Defaulting Defendants at their places of
incarceration. (Doc. #148). To date, the Court has received no objections to the R&R.

Because no one has objected to Judge Krause’s thorough and well-reasoned R&R, the
Court has reviewed the R&R for clear error. Finding no error, clear or otherwise, the Court
adopts the R&R and awards plaintiff damages as recommended.

CONCLUSION

The Court adopts the R&R in its entirety as the opinion of the Court.

The Clerk is instructed to enter Judgment for plaintiff in the amount of:

1. $1,750,000 in compensatory damages against defendants David Hardy, Marquis
Collier, Jermaine Hughley, and Sincere Savoy, jointly and severally;

2. $2,625,000 in punitive damages against defendant David Hardy;

3, $1,750,000 in punitive damages against defendant Marquis Collier;

4, $1,750,000 in punitive damages against defendant Jermaine Hughley;

5. $1,750,000 in punitive damages against defendant Sincere Savoy; and

6. Post-judgment interest pursuant to 28 U.S.C. § 1961, calculated from the date the

Clerk of Court enters judgment in this action until the date of payment.

The Clerk is further instructed to close this case.
Case 7:18-cv-00603-VB-AEK Document149_ Filed 12/20/24 Page4of4

Chambers will mail a copy of this Order to the Defaulting Defendants.

Dated: December 20, 2024
White Plains, NY
SO ORDERED:

Vu,

Vincent L. Briccetti
United States District Judge

